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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  -----------------------------------x
 JENNIFER D. ARAOZ,

                     Plaintiff,
                                                                           AFFIDAVIT
             V.                                                            No. l:22~cv~00125 (AMD) (RML)

 THE NEW ALBANY COMPANY, LLC, et al.,

                     Defendants.
 - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - X


 STATE OF OHIO                                     )
                                                   )          SS.:
 COUNTY OF FRANKLIN                                )

             Matthew S. Zeiger, being duly sworn, deposes and says:

             I, Matthew S. Zeiger, am counsel for Defendants in the above-entitled action, and

 respectfully move this Court to issue an order dismissing Plaintiffs First Amended Complaint

 pursuant to Federal Rules of Civil Procedure 12(b)(l), 12(b)(2) and 12(b)(6) with prejudice.

             The reason why I am entitled to the relief I seek is the following:

             Plaintiffs First Amended Complaint is barred by res judicata, Plaintiffs claims fail to

 state a claim upon which relief can be granted, and the Court lacks personal jurisdiction over the

 Defendants. The accompanying Memorandum of Law addresses Defendants' legal arguments in

 detail.

             Annexed hereto as exhibits in support of this motion are:

        1.          Certified copy of First Amended Complaint filed in Jennifer Danielle Araoz v.
                    The Estate of Jeffrey Edward Epstein, et al., Supreme Court of the State of New
                    York, County of New York, Index No. 950010/19.

        2.          Certified copy of the Stipulation of Discontinuance filed in Jennifer Danielle
                    Araoz v. The Estate of Jeffrey Edward Epstein, et al., Supreme Court of the State
                    of New York, County of New York, Index No. 950010/19.
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      3.          Verified Complaint filed in Jennifer D. Araoz vs. The New Albany Company
                  LLC. et al., Case No. 1:22-cv-00125 (highlighted to show incorporation of state
                  law allegations).

      4.          First Amended Verified Complaint filed in Jennifer D. Araoz vs. The New
                  Albany Company LLC. et al., Case No. 1:22-cv-00125.

      5.          First Amended Verified Complaint Excerpts Alleging the Agency of Epstein for
                  the Defendants.

      6.          Affidavit of Craig R. White.

      7.          Affidavit of Leslie H. Wexner.

      8.          Affidavit of Abigail S. Wexner.

      9.          Affidavit of Rabbi Barbara Elka Abrahamson.

     10.          Affidavit of Peggy W. Ugland.

     11.          Affidavit of William G. Ebbing.

           WHEREFORE, I respectfully request that the Court grant the within motion, as well as

 such other and further relief as may be just and prop□~


                                                        Sig ature



                                                        Print Name

           Sworn to before me this J1~day of A~                , 2023.


           ~L. ~
       Notary Public




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